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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


GO FIT LLC, an Oklahoma limited liability
company


        Plaintiff,

v.                                                          Case No. I:llcv689




GOFIT.COM, an Internet domain name,

        Defendant.




                          ORDER FOR AMENDING JUDGMENT


        Defendant has been found, in default, to have violated 15 U.S.C. §1125(d) of the ACPA,

and Judgment entered on January 10, 2012.         Based upon the facts presented and that the

amendment docs not substantively change the outcome of the January 10, 2012 Judgment or

otherwise prejudice Defendant.

        Accordingly, Plaintiff Go Fit, LLC's Motion should be GRANTED.

        For the reasons stated herein, it is hereby ORDERED that:

                The January 10, 2012 Judgment is amended by substituting the following

language in lieu of "It is further ordered that Verisign is Directed to take prompt steps to ensure

that ownership and registration of the defendant domain name <gofit.com> is Transferred to

plaintiff:

                      It is further ORDERED the domain name <gofit.com> be

                      immediately transferred by Defendant, its assignees and/or

                      successors in interest or title, and the       Registrars to
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                   Plaintiffs control. To die extent the current Registrars do
                   not facilitate the transfer of <gofitcom> to Plaintiff's
                   control within ten (10) days ofreceipt ofthis judgment, the
                  United Stales based Registry shall, within thirty (30) days,
                  transfer <gofitcom> to aUnited States based Registrar of
                  Plaintiffs choosing, and that Registrar shall tnmsfer
                  <gofit.com> to Plaintiff.



      SIGNED this ZL- daY of



                                               The Honorable T.S. Ellis
                                               UNrrED STATES DISTRICT JUDGE




                                                     T.S. Ellis, III
                                                     United States Dis&fct Judge
